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15                                   UNITED STATES DISTRICT COURT
16                                  NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
17

18                                                           ) Case No. 07-5944-SC
   In re: CATHODE RAY TUBE (CRT)                             )
19 ANTITRUST LITIGATION                                      ) MDL No. 1917
                                                             )
20                                                           ) [PROPOSED] ORDER GRANTING
                                                             ) DEFENDANTS PHILIPS ELECTRONICS
21 This Document Relates to:                                 ) NORTH AMERICA CORPORATION’S,
                                                             ) PHILIPS TAIWAN LIMITED’S, AND
22 Electrograph Sys., Inc. v. Hitachi, Ltd.,                 ) PHILIPS DO BRASIL LTDA.’S NOTICE OF
   No. 11-cv-01656;                                          ) MOTION AND MOTION FOR PARTIAL
23                                                           ) SUMMARY JUDGMENT
                                                             )
24 Electrograph Sys., Inc. v. Technicolor SA,                ) Date:          February 6, 2015
   No. 13-cv-05724;                                          ) Time:          10:00 a.m.
25                                                           ) Place:         Courtroom 1, 17th Floor
   Siegel v. Hitachi, Ltd.,                                  )
26 No. 11-cv-05502;                                          ) Hon. Samuel P. Conti
                                                             )
27 Siegel v. Technicolor SA,                                 )
                                                             )
28 No. 13-cv-05261;                                          )
                                                             )

        [PROPOSED] ORDER GRANTING DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S, PHILIPS TAIWAN
       LIMITED’S, AND PHILIPS DO BRASIL LTDA.’S MOTION FOR PARTIAL SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
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 1 Best Buy Co., Inc. v. Hitachi, Ltd.,                      )
   No. 11-cv-05513;                                          )
 2                                                           )
   Best Buy Co., Inc. v. Technicolor SA,                     )
 3                                                           )
   No. 13-cv-05264;                                          )
 4                                                           )
   Interbond Corp. of Am. v. Hitachi, Ltd.,                  )
 5 No. 11-cv-06275;                                          )
                                                             )
 6 Interbond Corp. of Am. v. Technicolor SA,                 )
   No. 13-cv-05727;                                          )
 7                                                           )
                                                             )
 8 Office Depot, Inc. v. Hitachi, Ltd.,                      )
   No. 11-cv-06276;                                          )
 9                                                           )
   Office Depot, Inc. v. Technicolor SA,                     )
10 No. 13-cv-05726;                                          )
                                                             )
11                                                           )
   CompuCom Sys., Inc. v. Hitachi, Ltd.,                     )
12 No. 11-cv-06396;                                          )
                                                             )
13 P.C. Richard & Son Long Island Corp. v.                   )
   Hitachi, Ltd.,                                            )
14 No. 12-cv-02648;                                          )
                                                             )
15                                                           )
   P.C. Richard & Son Long Island Corp. v.                   )
16 Technicolor SA,                                           )
   No. 13-cv-05725;                                          )
17                                                           )
   Schultze Agency Servs., LLC v. Hitachi, Ltd.,             )
18 No. 12-cv-02649;                                          )
                                                             )
19                                                           )
   Schultze Agency Servs., LLC v. Technicolor SA,            )
20 No. 13-cv-05668;                                          )
                                                             )
21 Tech Data Corp. v. Hitachi, Ltd.,                         )
   No. 13-cv-00157;                                          )
22                                                           )
                                                             )
23 Dell Inc. v. Hitachi Ltd.,                                )
   No. 13-cv-02171;                                          )
24                                                           )
   Sears, Roebuck and Co. and Kmart Corp. v.                 )
25 Technicolor SA,                                           )
   No. 13-cv-05262                                           )
26                                                           )
                                                             )
27 Sears, Roebuck and Co. and Kmart Corp. v.                 )
   Chunghwa Picture Tubes, Ltd.,                             )
28 No. 11-cv-05514                                           )
                                                             )

        [PROPOSED] ORDER GRANTING DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S, PHILIPS TAIWAN
       LIMITED’S, AND PHILIPS DO BRASIL LTDA.’S MOTION FOR PARTIAL SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
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 1 Sharp Electronics Corp. v. Hitachi Ltd.,                  )
   Case No. 13-cv-1173 SC                                    )
 2                                                           )
   Sharp Electronics Corp. v. Koninklijke Philips            )
 3                                                           )
   Elecs., N.V.,                                             )
 4 Case No. 13-cv-2776 SC                                    )
                                                             )
 5 ViewSonic Corp. v. Chunghwa Picture Tubes,                )
   Ltd.,                                                     )
 6 Case No. 14-cv-2510 SC                                    )
                                                             )
 7                                                           )
     All Indirect Purchaser Actions                          )
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        [PROPOSED] ORDER GRANTING DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S, PHILIPS TAIWAN
       LIMITED’S, AND PHILIPS DO BRASIL LTDA.’S MOTION FOR PARTIAL SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
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 1          On February 6, 2015, the Court held a hearing on Defendants Philips Electronics North

 2 America Corporation’s, Philips Taiwan Limited’s, and Philips do Brasil Ltda.’s Motion for Partial

 3 Summary Judgment in the above-captioned actions. The Court having considered all papers filed in

 4 support of and in opposition to said Motion, and having heard argument of counsel, and good

 5 cause appearing, IT IS HEREBY ORDERED that the Motion is GRANTED in its entirety.

 6          Judgment is entered in favor of Defendants Philips Electronics North America Corporation,

 7 Philips Taiwan Limited, and Philips do Brasil Ltda. on all of Plaintiff’s claims in the above-captioned

 8 actions for liability and damages after June 2001.

 9          IT IS SO ORDERED.

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12 DATED: ____________________, 2015                          _________________________________
                                                              Honorable Samuel Conti
13                                                            U.S. District Judge
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        [PROPOSED] ORDER GRANTING DEFENDANTS PHILIPS ELECTRONICS NORTH AMERICA CORPORATION’S, PHILIPS TAIWAN
       LIMITED’S, AND PHILIPS DO BRASIL LTDA.’S MOTION FOR PARTIAL SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
